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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Gregory Greene, et al.
                                 Plaintiff,
v.                                                     Case No.: 1:14−cv−01437
                                                       Honorable Gary Feinerman
MtGox Inc., et al.
                                 Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, November 13, 2018:


        MINUTE entry before the Honorable Gary Feinerman: Status hearing set for
11/14/2018 at 9:00 a.m. [396] is re−set for 9:15 a.m. TIME CHANGE ONLY.Mailed
notice.(jlj, )




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